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                                Index of Exhibits


    Exhibit                                Description

       1                      UAWD Facebook Post (Feb. 28, 2024)
       2                    The Detroit News Article (Feb. 29, 2024)

       3                  Letter from Monitor to UAW (Feb. 29, 2024)

       4                   Email from UAW to Monitor (Apr. 3 2024)
       5                   Email from Monitor to UAW (Apr. 9, 2024)

       6          Email Exchange between Monitor and UAW (May 7-10, 2024)

       7           Letter from UAW President to UAW Vice President (May 29,
                                            2024)

       8           Letter from UAW Vice President to UAW President (June 8,
                                           2024)

       9                    Detroit Free Press Article (June 14, 2024)
       10          Vice President’s Article 33 Appeal to International Executive
                                      Board (June 27, 2024)
       11         Letter from UAW President’s Office to UAW Vice President’s
                                  Counsel (June 28, 2024)
       12                  Letter from Monitor to UAW (July 3, 2024)

       13           Memorandum from UAW President to All UAW Personnel
                                     (Aug. 23, 2023)

       14           Memorandum from UAW President to All UAW Personnel
                                     (Dec. 6, 2023)

       15                  UAW Constitution Articles 7, 32-33 (2022)
